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 9
                               UNITED STATES DISTRICT COURT
10
                                    DISTRICT OF NEVADA
11
      DESTINIE MULLEN, an Individual,
12                                                     CASE NO.:
                         Plaintiff,
13
14    vs.                                              COMPLAINT AND JURY DEMAND

15    GREAT CLIPS INC., a Foreign
      Corporation, DOES I -X; and ROE
16    CORPORATIONS I -X.
17
                         Defendant.
18
19          The Plaintiff Destinie Mullen (“Ms. Mullen”) by and through her attorneys, Jenny L.
20   Foley, Ph.D., Esq. and Marta Kurshumova, Esq. of HKM Employment Attorneys LLP hereby
21
     complains and alleges as follows:
22
                                            JURISDICTION
23
      1.    This is an action for damages brought by Plaintiff for unlawful workplace discrimination
24
25          based on race, and/or color, and for illegal retaliation under Title VII of the Civil Rights

26          Act of 1964 (“Title VII”), 42 U.S.C. §2000e et. seq.; for declaratory and injunctive relief
27          and monetary damages to redress the deprivation of right secured to the Plaintiff by the
28
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 1         Civil Rights Act of 1871, 42 U.S.C. § 1981; for violation of Nevada Revised Statute
 2         § 613.330 et. seq; and for certain claims brought pursuant to the Nevada Revised
 3
           Statutes as outlined below.
 4
      2.   This Court has primary jurisdiction over claims set forth herein pursuant to 28 U.S.C. §
 5
           1331 (federal question), 28 U.S.C. §1343(a) (4) (civil rights action) and 42 U.S.C.
 6
 7         §2000e-5(f) (3) (unlawful discrimination and retaliation in employment). Additionally,

 8         this Court has supplemental jurisdiction over any state law claims pled herein pursuant
 9         to 28 U.S.C. §1367.
10
      3.   All material allegations relative to the named Defendant contained in this Complaint are
11
           believed to have occurred in the State of Nevada, Clark County. Therefore, venue
12
13         properly lies in the southern division of the United States Court for the District of

14         Nevada pursuant to 28 U.S.C. §1391(b)(2).

15                     EXHAUSTION OF ADMINISTRATIVE REMEDY
16
      4.   On or about February 6, 2018, Plaintiff initiated the process of filing a Charge of
17
           Discrimination against her employer, the Defendant named in this action with the
18
           United States Equal Opportunity Commission (“EEOC”) wherein she alleged
19
20         discrimination because on her race.

21    5.   On or about March 29, 209, Plaintiff received her Notice of Right to Sue from the U.S.
22         Equal Employment Opportunity Commission.
23
      6.   This action is timely filed pursuant to 42 U.S.C. § 2000e-5(f).
24
      7.   Plaintiff has exhausted her administrative remedy on all claims pled hereunder prior to
25
           filing this action with this Court.
26
27   ///

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 1                                  GENERAL ALLEGATIONS
 2   8.    Plaintiff incorporates all of the allegations in the preceding paragraphs as though fully
 3         set forth herein.
 4   9.    Plaintiff is a citizen of the State of Nevada and a resident of Clark County Nevada.
 5   10.   Defendant is Great Clips, Inc., a foreign corporation.
 6   11.   Defendant had over 500 employees at all times relevant to this matter and is therefore
 7         subject to the provisions of Title VII.
 8   12.   Plaintiff began working for Defendant as a hairstylist on September 21, 2017.
 9   13.   Plaintiff performed her job well; she consistently received positive reviews from clients
10         and had great numbers for the store.
11   14.   However, throughout the duration of her employment, Plaintiff experienced racial
12         discrimination.
13   15.   Plaintiff endured numerous racially charged and inappropriate comments and actions
14         from her peers and management, including Holly Luther (“Ms. Luther”), Manager, and
15         Christina Royale (“Ms. Royale”), General Manager.
16   16.   More Specifically, in or about October 2017, Ms. Luther, a Caucasian female, told
17         Plaintiff that she likes Plaintiff’s hair because “it’s big and nappy and not like normal
18         black hair.”
19   17. Ms. Luther further told Plaintiff that she did not understand Plaintiff’s mother’s
20         ethnicity because “her skin is black like chocolate but she has blue eyes?”
21   18.   On a different occasion, Ms. Luther commented that Plaintiff’s son looked more like
22         Ms. Luther because “black people ain’t supposed to have red hair.”
23   19.   Ms. Luther would tell people that Plaintiff’s son has Plaintiff’s skin and the rest of his
24         features are white like Ms. Luther’s.
25   20.   Ms. Luther would also tell Plaintiff that she herself has more of a black girls behind than
26         Plaintiff without being black.
27   21.   To add insult to injury, on numerous occasions, Plaintiff’s co-workers, including
28
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 1         management, called her the “N” word.
 2   22.   In or about November or December, staff and management were discussing who would
 3         bring what food for the potluck in December.
 4   23.   When Plaintiff stated she would bring “ceviche,” she was told to bring “fried chicken”
 5         “since she is black, she knows how to make it.”
 6   24.   In December, Plaintiff brought a pot of shrimp gumbo to the potluck.
 7   25.   Ms. Luther, in the presence of Ms. Royale, a Caucasian female, stated that “it stinks”
 8         and that “black people’s food smells like vagina.”
 9   26.   Ms. Royale responded to Ms. Luther that she “likes black people food and Cajun food.”
10   27.   Plaintiff was advised that she could not bring in any leftover seafood to eat.
11   28.   In or around December, Viktoria Karulina, a Caucasian female, an employee of
12         Defendant, shouted to Plaintiff “Hey, my Ni***!” Plaintiff immediately responded to
13         Ms. Karulina that the comment was offensive. Miranda Sarsorito, a Caucasian female,
14         laughed and commented to Ms. Karulina that she “said it wrong.” Ms. Karulina then
15         turned to Plaintiff and stated “Sorry then, I meant, what up my Ni***?”.
16   29.   Plaintiff immediately complained to Ms. Luther but Ms. Luther did nothing in response.
17   30.   In or about January 2018, Haley Goodrich, a Caucasian female, Plaintiff’s co-worker,
18         told Plaintiff that Plaintiff’s boyfriend “was a pimp” because he was “so big and black
19         and looked intimidating.”
20   31.   Ms. Goodrich further told Plaintiff that Plaintiff is a prostitute and “a dollar must make
21         her holla.”
22   32.   Furthermore, Ms. Luther commented to Plaintiff that with being able to fade black
23         men’s’ hair that, “it’s easy once you get past the nappy part, but I can fade black hair
24         even though I’m a pasty white girl.”
25   33.   On a daily basis, Jackie Derrico, Plaintiff’s co-worker, would taunt Plaintiff about her
26         “nappy black hair” and her “pasty white dad who thinks he’s a Ni***.”
27   34.   On or about January 30, 2018, Ms. Royale approached Plaintiff to tell her she smelled
28         like weed and that she needed to go to Concentra Medical Center to have a urine analysis
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 1          done.
 2    35.   Plaintiff, the only African American female, was the only employee asked to take such
 3          a test, even though other store employees engaged in the use of marijuana.
 4    36.   Plaintiff immediately complied. Upon her return to work, Plaintiff inquired about her
 5          job but she did not receive an answer from Ms. Royale.
 6    37.   Immediately thereafter, Plaintiff sent an e-mail to the store’s Chief Creative Officer –
 7          Erica Shea (“Ms. Shea”) complaining about the racial discrimination and disparate
 8          treatment based on her race.
 9    38.   Plaintiff informed Ms. Shea that 1) a number of the store employees engage in the use
10          of marijuana, and showed her a video of same; 2) Ms. Luther frequently invited the staff
11          to drink Jack Daniels on property, on company time and kept a flask in her drawer; and
12          3) on one occasion, Ms. Luther asked Plaintiff to bring “some weed” for Ms. Luther’s
13          15-year-old son.
14    39.   On February 6, 2018, Ms. Shea called Plaintiff and officially terminated her.
15    40.   Plaintiff’s belongings were never returned to her and she was told never to return to the
16          salon to retrieve her belongings.
17    41.   Upon information and belief, Plaintiff’s belongings were either stolen or discarded by
18          Defendant’s employees.
19    42.   Defendant, through management, acted toward Plaintiff with an intent to discriminate
20          against her based on her race and engaged in harassing behavior by intentionally
21          subjecting Plaintiff to frequent and severe racially charged statements and insults and
22          by singling her out for a drug test, thus creating a hostile and offensive work
23          environment.
24    43.   Defendant acted toward Plaintiff with an intent to discriminate against her based on her
25          race (African-American).
26    44.   Defendant retaliated against Plaintiff for complaining of racial discrimination to Ms.
27          Shea.
28   ///
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 1                               FIRST CAUSE OF ACTION
            (Discrimination Based on Race in violation of State and Federal Statutes)
 2
 3   45.   Plaintiff incorporates all of the allegations in the preceding paragraphs as though fully

 4         set forth herein.

 5   46.   Plaintiff is a member of the class of persons protected by state and federal statutes

 6         prohibiting discrimination based on race.

 7   47.   Defendant as an employer is subject to Nevada and federal statutes prohibiting

 8         discrimination, NRS 613.330 et. seq. and Title VII, 42 U.S.C. § 2000e et. seq. as

 9         amended and thus, has a legal obligation to provide Plaintiff and all employees a

10         workplace free of unlawful discrimination.

11   48.   Defendant refused to take reasonably adequate steps to prevent discrimination against

12         Plaintiff in the workplace when managers and/or employees subjected Plaintiff to

13         disparate terms of employment.

14   49.   Defendant discriminated against Plaintiff by subjecting her to unlawfully disparate,

15         hostile, and otherwise untenable workplace conditions, including: discrimination

16         because of her race and retaliation for reporting said discrimination to the Chief

17         Creative Officer.

18   50.   No other similarly situated persons, not of Plaintiff’s protected class were subject to

19         such harsh measures for the same or substantially similar conduct.

20   51.   There may be more detrimental acts about which Plaintiffs are unaware, and which

21         may constitute unlawful discrimination against Plaintiffs in their workplace.

22   52.   Plaintiff was duly embarrassed, humiliated, angered, and discouraged by the

23         discriminatory actions taken against her by management and Defendant.

24   53.   Plaintiff suffered compensable emotional and physical harm, including but not limited

25         to, headaches, sleeplessness, anxiety and depression resulting from this unlawful

26         discrimination by her employer.

27   54.   Plaintiff is entitled to be fully compensated for her emotional disturbance by being

28         forced to endure this discrimination.

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 1   55.   Pursuant to 1991 Amendments to title VII, Plaintiff is entitled to recover punitive
 2         damages for Defendant’s malicious, intentional repeated violations of federal and state
 3         civil rights laws. Discrimination based on race has been illegal since 1964 and an
 4         employer of the size, reputation and experience of Defendant should have not engaged
 5         in this blatant discrimination.
 6   56.   Plaintiff suffered damages in an amount deemed sufficient by the jury.
 7   57.   Plaintiff is entitled to an award of reasonable attorney’s fees.
 8   58.   Defendant is guilty of oppression, fraud or malice, express or implied as Defendant
 9         knowingly and intentionally discriminated against Plaintiff because of her race.
10   59.   Therefore, Plaintiff is entitled to recover damages for the sake of example, to deter
11         other employers from engaging in such conduct and by way of punishing the Defendant
12         in an amount deemed sufficient by the jury.
13                             SECOND CAUSE OF ACTION
       (Retaliation under Federal Law, 42 U.S.C. § 2000e-3 and State Law, NRS 613.340)
14
15   60.   Plaintiff incorporates all of the allegations in the preceding paragraphs as though fully

16         set forth herein.

17   61.   In violation of 42 U.S.C § 200e-3, Defendant retaliated against Plaintiff after she

18         complained of acts which she reasonably believed were discriminatory.

19   62.   In violation of NRS 613.340 Defendant retaliated against Plaintiff after she complained

20         of acts, which she reasonably believed were discriminatory.

21   63.   The behavior complained of also constitutes retaliatory harassment and the creation of

22         an illegally hostile environment.

23   64.   There may be more detrimental acts of which Plaintiff is unaware which may also

24         constitute retaliation in that it harmed Plaintiff in her workplace.

25   65.   The actions and conduct by Defendant constitute illegal retaliation which is prohibited

26         by federal and state statutes.

27   66.   Plaintiff suffered damages in an amount deemed sufficient by the jury.

28   67.   Plaintiff is entitled to an award of reasonable attorney’s fees.

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 1   68.   Defendant is guilty of oppression, fraud or malice, express or implied because
 2         Defendant knowingly and intentionally retaliated against Plaintiff because she reported
 3         discriminatory behavior.
 4   69.   Therefore, Plaintiff is entitled to recover damages for the sake of example, to deter
 5         other employers from engaging in such conduct and by way of punishing the Defendant
 6         in an amount deemed sufficient by the jury.
 7                                 THIRD CAUSE OF ACTION
                          (Violation of the Civil Rights Act of 1871, §1981)
 8
 9   70.   Plaintiff incorporates all of the allegations in the preceding paragraphs as though fully

10         set forth herein.

11   71.   Plaintiff is African-American and therefore a member of a protected class.

12   72.   Defendant engaged in the above-mentioned harassment and discrimination of Plaintiff

13         with the purposeful intent to discriminate against her because of her race (African-

14         American).

15   73.   Under similar circumstances, other, White or non-African American employees were

16         not reprimanded or subjected to a racially hostile working environment.

17   74.   Plaintiff was subject to disparate treatment and retaliation through diminished work

18         conditions, disrespectful and unwarranted interference with Plaintiff’s duties, and

19         favorable behavior toward the white employees on the team, which is prima facie

20         evidence of purposeful intent to discriminate against Plaintiff because of her race.

21   75.   Plaintiff suffered damages in an amount deemed sufficient by the jury.

22   76.   Plaintiff is entitled to an award of reasonable attorney’s fees in this matter.

23   77.   Defendant is guilty of oppression, fraud or malice, express or implied as Defendant

24         knowingly violated Plaintiff’s rights under Section 1981 of the Civil Rights Act of 1871.

25   78.   Therefore, Plaintiff is entitled to recover damages for the sake of example, to deter other

26         employers from engaging in such conduct and by way of punishing the Defendant in an

27         amount deemed sufficient by the jury.

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 1                                 FOURTH CAUSE OF ACTION
                               (Negligent Supervision/Retention/Hiring)
 2
 3   79.   Plaintiff incorporates all of the allegations in the preceding paragraphs as though fully

 4         set forth herein.

 5   80.   Defendant had an obligation to provide Plaintiff with a workplace free of threat,

 6         harassment, retaliation, deprivation of her civil and constitutional rights, and denigration

 7         by her superiors and/or co-workers.

 8   81.   Defendant ignored Plaintiff’s complaint regarding the discrimination and harassment

 9         she suffered.

10   82.   Defendant knew or should have known of its employees’ proclivities for improper,

11         unreasonable, harassing and retaliatory actions such that an exercise of reasonable care

12         would have stopped and/or prevented such conduct.

13   83.   Defendant failed to properly and effectively train its employees that engaging in

14         retaliatory conduct is illegal and improper.

15   84.   Defendant failed to ensure that its employees, in particular Ms. Luther, Ms. Royale, Ms.

16         Karulina, Ms. Sarsorito, among others, did not engage in any discriminatory, harassing

17         and/or retaliatory behavior on their behalf or in retaliation for reporting racial

18         discrimination.

19   85.   Defendant’s failure to properly hire, supervise and/or retain its employees and address

20         their discriminatory and retaliatory conduct in an appropriate manner caused injury to

21         Plaintiff.

22   86.   Plaintiff suffered damages in an amount deemed sufficient by the jury.

23   87.   Plaintiff is entitled to an award of reasonable attorney’s fees in this matter.

24   88.   Defendant is guilty of oppression, fraud or malice, express or implied as Defendant

25         knowingly subjected Plaintiff to racial discrimination and retaliation for reporting such

26         discrimination by failing to properly hire, train, or supervise their employees.

27   89.   Therefore, Plaintiff is entitled to recover damages for the sake of example, to deter other

28         employers from engaging in such conduct and by way of punishing the Defendant in an

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 1       amount deemed sufficient by the jury.
 2       WHEREFORE, Plaintiff prays this court for:
 3          a. A jury trial on all appropriate claims;
 4       moreover, to enter judgment in favor of the Plaintiff by:
 5          b. Awarding Plaintiff an amount sufficient to fully compensate her (including tax
 6              consequences) for all economic losses of any kind, and otherwise make him
 7              whole in accordance with Title VII;
 8          c. General damages;
 9          d. Special damages;
10          e. An award of compensatory and punitive damages to be determined at trial;
11          f. Pre and post-judgment interest;
12          g. An award of attorney’s fees and costs; and
13          h. Any other relief the court deems just and proper.
14       Dated this 27th Day of June, 2019.
15                                             HKM EMPLOYMENT ATTORNEYS LLP
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